     Case 1:25-cv-00368-RSK         ECF No. 2, PageID.13        Filed 04/02/25     Page 1 of 9




      IN THE DISTRICT COURT FOR THE UNITED STATES OF AMERICA
                   WESTERN DISTRICT OF MICHIGAN
                           Southern Division

JANE DOE NO. 2,
                                                      CASE NO. 25-CV-                 -
                       Plaintiff,                     HONORABLE:

v.
CLINTON COUNTY, MICHIGAN, a state of Michigan municipality
SHERIFF SEAN DUSH, individually and as employee/agent Clinton County
CLINTON COUNTY SHERIFF’S OFFICE,
JOHN DOES, to be named individually and as employees/agents Clinton County
ADVANCED CORRECTIONAL HEALTHCARE, INC., an Illinois corporation

                       Defendants
                                    /
DRAGON LAWYERS PC
Jacob A. Perrone (P71915)
Attorneys for Plaintiff
325 East Grand River Ave., Suite 250
East Lansing, MI 48823
Phone: (844) JAKELAW
jacob.perrone@yahoo.com
                                    __________________________________________________ /

       PLAINTIFF JANE DOE NO. 2’S MOTION FOR LEAVE TO
                 PROCEED UNDER PSEUDONYM
                                    __________________________________________________ /

         NOW COMES Plaintiff, Jane Doe No. 2, (hereinafter “Jane Doe No. 2”) by and

through her attorneys, DRAGON LAWYERS PC, and Jacob Alan Perrone, Esq., and for her

Motion for Leave to Proceed Under Pseudonym states as follows:

         Plaintiff, Jane Doe No. 2, respectfully moves the Court to allow her to proceed in this

matter under a pseudonym for the reasons stated in the attached Memorandum of Law.




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  Case 1:25-cv-00368-RSK   ECF No. 2, PageID.14     Filed 04/02/25   Page 2 of 9




                                    Respectfully submitted,



                                    DRAGON LAWYERS PC
Dated: April 2, 2025               /s/Jacob A. Perrone_____________
                                      Jacob A. Perrone (P71915)
                                      Attorney for Plaintiff
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                                       2
     Case 1:25-cv-00368-RSK          ECF No. 2, PageID.15        Filed 04/02/25      Page 3 of 9




      IN THE DISTRICT COURT FOR THE UNITED STATES OF AMERICA
                   WESTERN DISTRICT OF MICHIGAN


JANE DOE NO. 2,
                                                       CASE NO. 25-CV-                  -
                        Plaintiff,                     HONORABLE:

v.
CLINTON COUNTY, MICHIGAN, a state of Michigan municipality
SHERIFF SEAN DUSH, individually and as employee/agent Clinton County
CLINTON COUNTY SHERIFF’S OFFICE,
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                                     /
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                                     __________________________________________________ /

 PLAINTIFF JANE DOE NO. 2’S MEMORANDUM IN SUPPORT
 OF MOTION FOR LEAVE TO PROCEED UNDER PSEUDONYM
                                     __________________________________________________ /

         NOW COMES Plaintiff (hereinafter referred to as “Jane Doe No. 2” or “Plaintiff”), by

and through her attorneys, DRAGON LAWYERS PC, and for her Memorandum of Law in

Support of Motion for Leave to Proceed Under Pseudonym states as follows:

                                                LAW

         Federal Rule of Civil Procedure 10(a) requires that “[t]he title of a complaint must name all

the parties.” Under limited circumstances, however, courts allow parties to proceed under a


                                                   3
  Case 1:25-cv-00368-RSK           ECF No. 2, PageID.16          Filed 04/02/25       Page 4 of 9




pseudonym like “Jane Doe” to preserve their anonymity. Neither the Sixth Circuit nor the Supreme

Court has expressly addressed the circumstances under which district courts should allow parties to

remain anonymous. But several other courts have confronted the issue and articulated a variety of

considerations. No single factor is dispositive. The court should “carefully review all the

circumstances of a given case and then decide whether the customary practice of disclosing the

plaintiff’s identity should yield to the plaintiff’s privacy concerns.” Heather K. by Anita K. v. City

of Mallard, Iowa, 887 F. Supp. 1249, 1256 (N.D. Iowa 1995) (internal quotation marks omitted). In

performing the analysis, the court “must balance the need for anonymity against the general

presumption that parties’ identities are public information and the risk of unfairness to the opposing

party.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000) (citing,

inter alia, Doe v. Stegall, 653 F.2d 180, 186 (5th Cir. 1981); M.M. v. Zavaras, 139 F.3d 798, 803

(10th Cir. 1998); Doe v. Frank, 951 F.2d 320, 323-24 (11th Cir. 1992)).

       Courts have nevertheless “carved out a limited number of exceptions to the general

requirement of disclosure [of the names of parties], which permit plaintiffs to proceed

anonymously.” Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678, 685 (11th Cir.2001).

Indeed, we have approved of litigating under a pseudonym in certain circumstances, see, e.g., Smith

v. Edwards, 175 F.3d 99, 99 n. 1 (2d Cir.1999) (“For the sake of the privacy of plaintiffs child,

pseudonyms for plaintiff and his family are employed throughout this opinion.”), but we have not

yet set forth the standard for permitting a plaintiff to do so, see, e.g., Doe v. Menefee, 391 F.3d 147,

149 n. 1 (2d Cir.2004) (“We decline to address the complex question of the applicable standards for

litigating under a pseudonym under these circumstances.”). Other Circuits have established such a

standard. Drawing on both the rules adopted by other Circuits and the experience of the district




                                                   4
  Case 1:25-cv-00368-RSK           ECF No. 2, PageID.17           Filed 04/02/25      Page 5 of 9




courts of our Circuit, the standard governing the use of pseudonyms in civil litigations has been

established.

       The courts that have considered this issue have framed the relevant inquiry as a balancing

test that weighs the plaintiffs need for anonymity against countervailing interests in full disclosure.

In Aware Woman Center, the 11th Circuit explained that the “ultimate test for permitting a plaintiff

to proceed anonymously is whether the plaintiff has a substantial privacy right which outweighs the

customary and constitutionally-embedded presumption of openness in judicial proceedings.” 253

F.3d at 685 (internal quotation marks omitted). Likewise, the 10th Circuit “weights the plaintiffs

claimed right to privacy against the countervailing public interest in [open proceedings],” M.M. v.

Zavaras, 139 F.3d 798, 803 (10th Cir.1998), as does the 5th Circuit, see Doe v. Stegall, 653 F.2d

180, 186 (5th Cir. Unit A Aug.1981) (discussing “the balance pitting privacy concerns against the

presumption of openness of judicial proceedings”). Similarly, the 9th Circuit has held that “a party

may preserve his or her anonymity in judicial proceedings in special circumstances when the

party’s need for anonymity outweighs [1] prejudice to the opposing party and [2] the public’s

interest in knowing the party’s identity.” Does I Thru XXIII v. Advanced Textile Corp., 214 F.3d

1058, 1068 (9th Cir.2000).

       This balancing of interests entails the consideration of several factors that have been identified

by our sister Circuits and the district courts in this Circuit. We note with approval the following

factors, with the caution that this list is non-exhaustive and district courts should take into account

other factors relevant to the particular case under consideration: (1) whether the litigation involves

matters that are “highly sensitive and [of a] personal nature,” Zavaras, 139 F.3d at 803; see also

James v. Jacobson, 6 F.3d 233, 238 (4th Cir.1993); Doe v. Frank, 951 F.2d 320, 323 (11th Cir.1992);

(2) “whether identification poses a risk of retaliatory physical or mental harm to the ... party [seeking


                                                    5
  Case 1:25-cv-00368-RSK            ECF No. 2, PageID.18          Filed 04/02/25       Page 6 of 9




to proceed anonymously] or even more critically, to innocent non-parties,” Jacobson, 6 F.3d at

238; see also Zavaras, 139 F.3d at 803; Doe v. Shakur, 164 F.R.D. 359, 361 (S.D.N.Y.1996); (3)

whether identification presents other harms and the likely severity of those harms, see Advanced

Textile Corp., 214 F.3d at 1068, including whether “the injury litigated against would be incurred as a

result of the disclosure of the plaintiffs identity,” Zavaras, 139 F.3d at 803; (4) whether the plaintiff is

particularly vulnerable to the possible harms of disclosure, see Advanced Textile Corp., 214 F.3d at

1068, particularly in light of his age, see Jacobson, 6 F.3d at 238; see also Del Rio, 241 F.R.D. at

157; (5) whether the suit is challenging the actions of the government or that of private parties, see

Jacobson, 6 F.3d at 238; Frank, 951 F.2d at 323; (6) whether the defendant is prejudiced by allowing

the plaintiff to press his claims anonymously, whether the nature of that prejudice (if any) differs at

any particular stage of the litigation, and whether any prejudice can be mitigated by the district

court, see Advanced Textile Corp., 214 F.3d at 1068; (7) whether the plaintiffs identity has thus far

been kept confidential, see Del Rio, 241 F.R.D. at 157; (8) whether the public’s interest in the

litigation is furthered by requiring the plaintiff to disclose his identity, see Advanced Textile

Corp., 214 F.3d at 1068; (9) “whether, because of the purely legal nature of the issues presented or

otherwise, there is an atypically weak public interest in knowing the litigants’ identities,” Del

Rio, 241 F.R.D. at 157; and (10) whether there are any alternative mechanisms for protecting the

confidentiality of the plaintiff, cf. Aware Woman Ctr., 253 F.3d at 687.

                                             ANALYSIS

       Because this factor-driven balancing inquiry requires a district court to exercise its

discretion in the course of weighing competing interests, see, e.g., Jacobson, 6 F.3d at 239 (“[T]he

judicial recognition of such factors [serves] as [a] guide[ ] to [the] proper exercise of discretion.”),




                                                    6
  Case 1:25-cv-00368-RSK            ECF No. 2, PageID.19           Filed 04/02/25      Page 7 of 9




Jane Doe No. 2 faces real and serious risks if her identity is exposed. Thus, despite the serious

fears for her health that led Ms. Doe to be a plaintiff in this lawsuit, she also “fear[s] what

Defendants will do to me for making these facts public.” This would constitute an egregious HIPPA

violation. Jane Doe No. 2’s fears are consistent with the experiences of inmates at the Clinton

County, Michigan Jail (hereinafter referred to as “CCJ”) especially issues involving inmate safety

as evidenced in the Complaint filed in Document No. 1, ⁋17. Her employment and/or business

interests could be negatively affected by her personal information being disclosed unrelated to

employment and/or business.

       Allowing Jane Doe No. 2 to proceed under pseudonym in this case is especially important

because her fears of reprisal and retaliation from Clinton County officials including the CCSO

present a substantial obstacle to enforcement efforts of any kind, undermining the health and safety

of inmates. Allowing Jane Doe No. 2 to proceed anonymously in this case is the only way that an

inmate will be able to assert his or her rights to address a constitutional and human rights issue

involving health privacy without public humiliation.

       Moreover, there is no prejudice to Defendants caused by allowing Jane Doe No. 2 to

proceed anonymously. Discovery of Jane Doe No. 2’s identity would serve no purpose for

Defendants’ ability to defend themselves in this action other than to harass and attempt to shame or

discredit her due to the medical issues that form the basis of this litigation.

       For the same reasons, the public interest in open proceedings is minimally affected by

allowing Jane Doe No. 2 to proceed anonymously. There is little for the public to learn from Jane

Doe No. 2’s identity. Instead, the public interest is served by allowing Jane Doe No. 2 the




                                                    7
  Case 1:25-cv-00368-RSK            ECF No. 2, PageID.20          Filed 04/02/25       Page 8 of 9




reassurances of being able to raise allegations of what is happening at the CCJ without fear of

reprisal.

        Finally, any potential harm to the public interest or to the fair, just, and expedient resolution

of this case can be resolved by allowing Doe to answer the Court’s questions on an ex-parte basis.

She is willing to make herself available for this purpose.

        The Sixth Circuit Court of Appeals has recognized pseudonymous suits as a limited

exception to the general rule that the parties' names must be stated in the complaint.

        It is a general rule that a complaint must state the names of the parties. FED. R. CIV. P.

10(a). Plaintiffs are permitted to proceed under pseudonyms only under certain circumstances that

justify an exception to this rule. Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004). When

determining whether such an exception is justified, a court may consider, among others, the

following factors:

        "(1) whether the plaintiffs seeking anonymity are suing to challenge governmental activity;
        (2) whether prosecution of the suit will compel the plaintiffs to disclose information of the
        utmost intimacy; (3) whether the litigation compels plaintiffs to disclose an intention to
        violate the law, thereby risking criminal prosecution; and (4) whether the plaintiffs are
        children." Id. at 560 (internal quotes omitted). It is also relevant to consider whether the
        defendants are being forced to proceed with insufficient information to present their
        arguments against the plaintiff's case. See id. at 561. Citizens for a Strong Ohio v.
        Marsh, 123 F. App'x 630, 636-37 (6th Cir. Jan. 3, 2005) (unpublished opinion) (emphasis in
        original).

        Jane Doe No. 2 asserts that factors (1) and (2) strongly apply in this case, and they weigh

in favor of Plaintiff proceeding under a pseudonym. Plaintiff provides persuasive justification under

factor (1), the operations of the CCJ is a governmental activity funded by taxpayers.

        With regard to factor (2), Plaintiff's mental health and medical issues are so intimate and

stigmatizing that it justifies proceeding pseudonymously. The plaintiff can provide documentation

if necessary to substantiate her novel medical history that should remain protected. Plaintiff


                                                    8
  Case 1:25-cv-00368-RSK          ECF No. 2, PageID.21          Filed 04/02/25     Page 9 of 9




contends that the safety and privacy of her and her family during this action is outweighed by the

need for judicial openness as codified in Rule 10(a).

                                          CONCLUSION

       Jane Doe No. 2 does not object to sharing her identity with the Court or Counsel for

Defendants, and only requests that her identity be protected from disclosure to the public. She

respectfully moves the Court to allow her to proceed in this matter under a pseudonym with respect

to all documents available to the public in the above matter.

                                               Respectfully submitted,


                                               DRAGON LAWYERS PC

Dated: April 2, 2025                         /s/Jacob A. Perrone_____________
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